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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                              CRIMINAL 13-0155CCC
 1) LUIS DIAZ-NATAL, a/k/a “Chencho”
 2) JESUS ACOSTA-MILLET, a/k/a “Lalo”
 3) JUAN PEREZ-MORALES, a/k/a “Charry,”
 “Joker”
 4) JORGE SANCHEZ-PEREZ, a/k/a “Joey”
 5) WILFRIDO COLON-RIVERA,
 a/k/a “Bimbo”, “Balu”
 6) ISMAEL LOPEZ-RIVERA, a/k/a “Machito”
 7) BIENVENIDO CLAS-OTERO,
 a/k/a “Biembe”
 8) ARMANDO JIMENEZ-RAMOS,
 a/k/a “Chory”
 9) ELIUD SERRANO-BARRIOS, a/k/a “Pipo,”
 “Pito”
 10) RAUL MENDEZ-ROMAN, a/k/a “Papelin”
 11) OMAR GONZALEZ-SOTOMAYOR
 12) CHRISTIAN GONZALEZ-SOTOMAYOR,
 a/k/a “Bombi”
 13) ALEXANDER RODRIGUEZ-RENTAS
 14) LUIS MIGUEL CRUZ-DAVILA
 15) ALEXANDER VELEZ-RODRIGUEZ
 16) VICTOR ORTIZ-SANTOS,
 a/k/a “Manuel,” “Crock”
 Defendants



                                        ORDER

       Having considered the Report and Recommendation filed on August 1, 2013 (docket
entry 141) on a Rule 11 proceeding of defendant Bienvenido Clas-Otero (7) held before
U.S. Magistrate Judge Bruce J. McGiverin on July 30, 2013, to which no objection has been
filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that his plea was voluntary and intelligently entered with awareness of his
rights and the consequences of pleading guilty and contains all elements of the offense
charged in the indictment.
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      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since July 30, 2013. The sentencing hearing is set for November 1,
2013 at 4:40 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on August 26, 2013.



                                               S/CARMEN CONSUELO CEREZO
                                               United States District Judge
